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                                            TRAFTON, MATZEN,
                                            BELLEAU & FRENETTE, LLP
                                                                                       CIF
 Adam R. Lee
 alee@tmbf-law.com
 ME Bar No.4143
 NH Bar No.20930
                                                          July 8,2021

Via Hand-Delivery
Linda Mason, Clerk
                                                                                                JUL 8'21 pv9:5•E:
Androscoggin County Superior Court                                                           P3NDR3           Cr-It
2 Turner Street
Auburn, Maine 04210

 RE:      Michael Weaver v. Town of Livermore, et al.
          Docket No. AP-21-

 Dear Ms. Mason:

       Please find enclosed for filing in the above-referenced matter Plaintiff's Complaint and
 M.R.Civ.P. 80B Petition for Judicial Review, Summary Sheet and this firm's check in the
 amount of$175.00 for the requisite filing fee.

         The Returns of Service will be forwarded upon receipt. As always,thank you for your
 attention to this matter.


                                                             Sincerely,



                                                                dam R. Lee

 ARL/mam
 Encl.

 CC:      Michael Weaver(via email and regular mail)
          Town of Livermore
          Amy Byron
          Aaron Miller
          James Manter
          Mark Chretien
          Brett Deyling
          Scott Richmond
          Benjamin Guild
          Tracey Martin

 H:\ARL\Weaver, Michael\Correspondence\Clerk Letter re Complaint and 80B 7-8-21.docx




Ten Minot Avenue, P.O. Box 470, Auburn, ME 04212-0470 1207-784-4531 I fax: 207-784-8738 I web:tmbf-law.com
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STATE OF MAINE                                                        SUPERIOR COURT
ANDROSCOGGIN,ss.                                                         CIVIL ACTION
                                                                  DOCKET NO. AP-21- /0

 MICHAEL WEAVER,an adult individual
 residing in Livermore, Androscoggin County,
 State of Maine,

        Plaintiff/Petitioner

 v.                                                                          H IL. 3'21
                                                                          ANDRO SLIP7R:OR Cg1RT
 TOWN OF LIVERMORE,a duly
 authorized Maine municipality located in
 Androscoggin County, State of Maine,

 AMY BYRON,in her individual and official
 capacity, an adult individual resident of
 Livermore, Androscoggin County, State of
 Maine,

 AARON MILLER,in his individual and
 official capacity, an adult individual resident
 of Alna, Lincoln County, State of Maine,
                                                        COMPLAINT AND M.R.CIV.P.80B
                                                       PETITION FOR JUDICIAL REVIEW
 JAMES MANTER,in his individual and
 official capacity, an adult individual resident
 of Livermore, Androscoggin County, State of
 Maine,

 MARK CHRETIEN,in his individual and
 official capacity, an adult individual resident
 of Livermore, Androscoggin County, State of
 Maine,

 BRETT DEYLING,in his individual and
 official capacity, an adult individual resident
 of Livermore, Androscoggin County, State of
 Maine,

 SCOTT RICHMOND,in his individual and
 official capacity, an adult individual resident
 of Livermore, Androscoggin County, State of
 Maine,




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 BENJAMIN GUILD,in his individual and
 official capacity, an adult individual resident
 of Livermore, Androscoggin County, State of
 Maine,

 And

 TRACEY MARTIN,in her individual and
 official capacity, an adult individual resident
 of Livermore, Androscoggin County, State of
 Maine,

        Defendants/Respondents



       NOW COMES Petitioner/Plaintiff, Michael Weaver, by and through undersigned

counsel, and hereby files this Complaint and Petition for Judicial Review. In support of this

Complaint, Mr. Weaver represents as follows:

        1.     Michael Weaver (hereinafter "Plaintiff") is an adult individual resident of

Livermore, Androscoggin County, State of Maine.

       2.      Town of Livermore (hereinafter "Livermore")is a duly authorized Maine

 municipality located in Livermore, Androscoggin County, State of Maine.

        3.     Amy Byron (hereinafter "Byron")is an adult individual resident of Livermore,

 Androscoggin County, State of Maine.

        4.     Aaron Miller (hereinafter "Miller") is an adult individual resident of Alna,

 Lincoln County, State of Maine.

        5.     James Manter (hereinafter "Manter") is an adult individual resident of Livermore,

 Androscoggin County, State of Maine.

        6.     Mark Chretien (hereinafter "Chretien") is an adult individual resident of

 Livermore, Androscoggin County, State of Maine.




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        7.     Brett Deyling (hereinafter "Deyling") is an adult individual resident of Livermore,

Androscoggin County, State of Maine.

        8.     Scott Richmond (hereinafter "Richmond")is an adult individual resident of

Livermore, Androscoggin County, State of Maine.

        9.     Benjamin Guild (hereinafter "Guild")is an adult individual resident of Livermore,

Androscoggin County, State of Maine.

        10.    Tracey Martin (hereinafter "Martin") is an adult individual resident of Livermore,

Androscoggin County, State of Maine.

        1 1.   Livermore does not have a charter.

        12.    Plaintiff is a licensed marijuana caregiver.

        13.    Plaintiff has been a licensed medical marijuana caregiver for seven (7) years.

        14.    At all times, he has been operating his caregiver business in Livermore.

        15.    From late 2019 to about July 29,2020, Livermore began drafting a medical

 marijuana ordinance. A true and accurate copy of Livermore's original medical marijuana

ordinance is attached hereto and incorporated herein as Exhibit A.

        16.     Upon information and belief, Livermore drafted its medical marijuana ordinance

 to permit other medical marijuana businesses to operate, but prevent Plaintiffs business from

 operating.

        17.     Livermore's original medical marijuana ordinance prohibits a medical marijuana

 business from operating within 500ft of a municipal "safe zone" pursuant to 30-A M.R.S. § 3253

 or a 1,000ft licensed daycare under 10-148 CMR c.32. Section 10.A.2.b.

        18.     Livermore designated a baseball field near Plaintiff's medical marijuana business

 as a municipal "safe zone".




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        19.      Livermore, had, initially, only sought to prohibit medical marijuana businesses

from being 1,000ft near a "school".

        20.      Upon learning that a nearby privately-owned company providing speech therapy

to children was not, under Maine law, considered to be a "school", Livermore expanded the

 prohibition to include childcare facilities in an attempt to preclude Plaintiff's business from

 operating.

        21.      Livermore's original medical marijuana ordinance prevented a medical marijuana

 business from being within 500ft of a place for religious worship and related religious activity,

 public or private schools, recreational areas designated for use by children up to eighteen (18)

 years in age.

        22.      Livermore's medical marijuana ordinance prevents medical marijuana businesses

 from being within 1,000ft of another property containing a building housing one or more medical

 marijuana businesses.

        23.      Livermore's medical marijuana ordinance describes how to measure the setback

 requirements of medical marijuana businesses. Setbacks are to be measured from the property

 line of each parcel of property.

         24.     Plaintiff owns two adjoining lots in Livermore with one lot for his medical

 marijuana caregiving and retail location and the other lot is vacant and unused.

         25.     Plaintiff's vacant lot is within 500ft of the safe zone.

         26.     Livermore represented that it would measure Plaintiff's medical marijuana

 location from the vacant lot, which would render his property noncompliant with the medical

 marijuana ordinance.




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       27.     During an inspection ofPlaintiff's medical marijuana business, Livermore

advised him that the metal grating on his windows was a compliant security measure.

       28.     Under Livermore's medical marijuana ordinance, a medical marijuana business is

required to have metal bars on its windows.

       29.     On several occasions Plaintiff inquired with Town officials including Byron,

whether he was able to apply to license his business. He was told that he could not, nevertheless,

he came to learn that other businesses, whose security was substandard to that provided by

Plaintiff, were being licensed while he was not permitted to apply.

       30.     Plaintiff participated in all known public meetings about the medical marijuana

ordinances.

       31.     Plaintiff explained to Livermore that passage ofthe proposed medical marijuana

ordinance would harm his business and the business of other medical marijuana caregivers in the

community.

        32.    During the drafting of Livermore's medical marijuana ordinance, Plaintiff

submitted a Site Plan to Livermore's Planning Board.

        33.    The Site Plan was, based on the information provided by Livermore officials,

 what Plaintiff needed for municipal authorization to open a medical marijuana business in

compliance with the proposed ordinance and the laws ofthe State of Maine.

        34.    Plaintiff began the site plan review process in October of 2019.

        35.    Livermore inspected Plaintiff's property.

        36.    Livermore's Planning Board approved Plaintiff's Site Plan.

        37.     On July 29,2020, Livermore held a virtual hearing by Zoom regarding

 Livermore's proposed medical marijuana ordinance, and only about seven(7) people attended.




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        38.      During that virtual hearing, Byron and a member ofthe Planning Board told

Plaintiff that his Site Plan had been reviewed and approved.

        39.      On August 4,2020, Plaintiff mailed to Livermore a letter requesting the municipal

authorization of Plaintiff's medical marijuana business as required by the Site Plan Review

Ordinance. A true and accurate copy ofthat letter is attached hereto and incorporated herein as

Exhibit B.

        40.      Livermore never responded to or acted upon Plaintiff's letter requesting municipal

authorization.

        41.      During the drafting of Livermore's medical marijuana ordinance, Plaintiff

routinely called and visited Livermore's Town Office to obtain a copy of the proposed medical

 marijuana ordinance and to learn when the ordinance would be voted on by the public.

        42.      Livermore's Town Office was frequently closed to the public, and Plaintiff was

 otherwise given the "run around" with respect to his approved license and the marijuana

 ordinance.

        43.      When Livermore finally delivered a copy ofthe ordinance to Plaintiff, it was an

 older draft.

        44.      Ahead of Livermore's virtual hearing on the proposed medical marijuana

 ordinance, Livermore employee, Byron, provided Plaintiff with an earlier and outdated draft of

 the proposed ordinance.

        45.      Livermore did not properly enact its proposed medical marijuana ordinance.

         46.     Livermore did not post the proposed ordinance in the manner provided for town

 meetings as required by 30-A M.R.S. § 3002(1).

         47.     Livermore did not post its proposed ordinance in a conspicuous, public place.




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        48.     Livermore's proposed ordinance exceeded ten (10)pages in length.

        49.     Livermore employee, Miller, having conferred with former Livermore employee,

Byron, confirmed that there was only one warrant relating to the medical marijuana ordinance.

        50.     Miller provided an unexecuted copy of the medical marijuana ordinance warrant.

 A true and accurate copy ofthat warrant is attached hereto and incorporated herein as Exhibit C.

        51.     Livermore represented to Plaintiff that this copy was identical to the executed

copy ofthe medical marijuana ordinance warrant.

        52.     This warrant did not meet the legal requirements for posting of a proposed

ordinance exceeding ten (10) pages as required by 30-A M.R.S. § 3002(1).

        53.     Livermore held a vote on the proposed medical marijuana ordinance on August 7,

2020.

        54.     The medical marijuana ordinance purported to be enacted on August 12, 2020

 after Livermore voted to adopt the proposed medical marijuana ordinance.

        55.     Subsequent to the ordinance's purported passage, and upon information and

 belief, Plaintiff is the only individual or business to not be approved under the ordinance.

        56.     While Town officials directed Plaintiff to an apparently misguided process, other

 businesses were guided to a far more simple process that resulted in their licensure without

 fulfilling all requirements ofthe ordinance, which Plaintiff's business meets.

        57.     Adding insult to irreparable injury, on May 8, 2021, the Town held a poorly

 attended Zoom meeting regarding sudden and unexplained amendments to its ordinance, which

 included increasing the distance between medical marijuana businesses and religious related

 activities, licensed daycares, recreational areas for children up to 18 years old and designated




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municipal safe zones changed from 500 to 1,000 feet. Upon information and belief the only

medical marijuana business that would be affected by these amendments was and is Plaintiff.

        58.     At the May 8th meeting, Defendant Miller admitted that there was no safety

concern justifying the extension ofthe safe zone from 500 to 1,000 feet.

        59.     Town officials, who previously falsely approved and indicated to Plaintiff that his

business was licensed have now told him that he should not worry because he is not affected by

the ordinance amendments. However, in a related petition for judicial review presently pending,

the Town has asserted that such promises are of no legal value and not to be relied upon.

        60.     On June 8,2021, voters approved the warrant articles.

                 COUNT I — M.R.CIV.P.80B PETITION FOR JUDICIAL REVIEW

        61.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through

64 as if fully set forth herein.

        62.     The Town of Livermore amendments of June 8,2021 to its already invalid

 marijuana ordinance were and are affected by bias or error oflaw, unsupported by substantial

 evidence on the whole record, were arbitrary or capricious or characterized by abusive

 discretion, or were in excess ofits statutory and constitutional authority and made upon unlawful

 procedure.

              WHEREFORE,Plaintiff, by and through undersigned counsel, hereby requests that

 the Court vacate enactment ofthe amendments and enjoin the Town of Livermore from

 enforcing said amendments.




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          COUNT II — 42 U.S.C. 4 1983(EQUAL PROTECTION and DUE PROCESS
   CLAUSE)CLAIM AGAINST ALL DEFENDANTS PURSUANT TO VIOLATION OF
   THE 14TH AMENDMENT OF THE UNITED STATES CONSTITUTION AND THE
         DECLARATION OF RIGHTS OF THE MAINE CONSTITUTION

         63.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through

 66 as if fully set forth herein.

         64.     At all times relevant hereto, Plaintiff had rights clearly established under the 14th

 Amendment of the United States Constitution and enforceable against the states through the due

 process clause ofthe 14th Amendment to equal protection under the laws. Moreover, Plaintiff

 had a right to equal protection under Maine's Constitution at Article I, Section 6-A, as well as

 natural rights and other protections under Article I, Section 1 and Section 24.

         65.     Plaintiff suffers from debilitating health conditions that restrict his vocal cords

 and interfere with his speech. As a result of his medical disabilities, Plaintiff has faced

 significant hurdles in communicating with Livermore regarding its medical marijuana ordinance.

 These issues have been exacerbated by adverse treatment and discriminatory actions by

 representatives of the Town of Livermore. They have also been exacerbated by Livermore's

 insistence on continued hosting ofZoom meetings on which Plaintiff has been frequently spoken

 over or not understood.

         66.     Moreover, many ofthe decision makers involved in the process for the Town of

 Livermore have been individuals who have had substantial issues with Plaintiff in the past,

 including with respect to the closing of his prior business and his alcohol license. It has been

 evident throughout the process that these individuals have harbored these same biases and have

 carried them carried them into their interactions with the Plaintiff. Moreover,to the extent that

 the Town of Livermore has refused to provide Plaintiff's business approval of its operation as a




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 caregiver retail store, Livermore's decision as applied or in fact through the existence of its

 ordinance violates the local regulatory sections of22 M.R.S. § 2429-D.

        67.     Finally, through its actions and its ordinances and its continued amendment of the

 ordinance, Livermore and the named party officials continue to subject Plaintiff and his business

 to constant risk of civil violation and/or enhancement of any criminal violations within the

 federal criminal code, particularly as it pertains to the designation of a safe zone within the area

 of Plaintiff's business operation. These amount to deprivations of his due process rights,

 particularly as the individuals adjudicating these rights are biased against him.

         68.    Plaintiff suffered damages,including economic and noneconomic injuries as a

 consequence ofthese violations.

         69.     Defendants' actions violated clearly established statutory and constitutional rights

 which a reasonable person should have known,including under the above stated constitutional

 amendments, Maine's Medical Marijuana Act and potentially other Maine laws. Moreover,

 several Defendants had a duty to intervene to prevent a violation of these rights, a reasonable

 opportunity to intervene, and failed to intervene.

         70.     The actions of subordinate officials were caused by those of their supervisors. In

 some instances the supervisors directed the subordinates to take the action in question, the

 supervisors had actual knowledge ofthe subordinate's violation of Plaintiff's rights and

 acquiesce to that violation, and/or the supervisors with deliberate indifference to the

 consequences, establish and maintain a policy, practice or custom which directly caused the

 violation. Moreover,these violations were result of official policy of the Town of Livermore.

         71.     The Town of Livermore and its officials' deliberate indifference lead to the

 violation ofPlaintiff's rights.




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        72.     Defendants' actions were with malice or so outrageous that malice can be implied

 and as a result Plaintiff is entitled to punitive damages.

        73.     Defendants' actions in addition and/or in the alternative were with sufficient state

 of mind for punitive damages to issue under 42 U.S.C. § 1983, 1988.

        74.     Defendants' acted with evil motive or intent or reckless or callous indifference to

 Plaintiff's federally and state protected rights.

         WHEREFORE,Plaintiff prays for judgment as follows:(a)an injunction on the Town of

 Livermore's enforcement of its unconstitutional ordinance and amendments to said ordinance;

(b)an award of compensatory damages against Defendants in an amount to be determined at

 trial;(c)an award of punitive damages against Defendants in an amount to be determined at trial;

(d)an award of Plaintiff's costs and reasonable attorney's fees in this action pursuant to 42

 U.S.C. §§ 1983 and 1988;(e)appropriate injunctive relief, including voiding the present

 marijuana ordinance and providing requirements that any subsequent ordinance follow statutory

 and constitutional rules applicable to the Town; and (f)an order granting suc       fir    further

 relief as the Court deems just and proper.


 Dated: July 8,2021
                                                 Adam R. Lee, Bar No.4143
                                                 Attorney for Plaintiff/Petitioner

                                                 Trafton, Matzen, Belleau & Frenette
                                                 PO Box 470, 10 Minot Avenue
                                                 Auburn, Maine 04212-0470
                                                 207-784-4531
                                                 Alee@tmbf-law.com




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                TOWN OF LIVERMORE
        Medical Marijuana Stores, Cultivation Facilities,
        Manufacturing Facilities, and Testing Facilities
                          Ordinance



            ENACTED:              k 117 zoup



             CERTIFIED BY:
                                  R -Ida J. Guild, Town Cler

                                                       Affix Seal
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                                       Town of Livermore
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                              Testing Facilities Ordinance

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     Medical Marijuana Stores, Cultivation Facilities, Manufacturing Facilities, and
                            Testing Facilities Ordinance

  1 Title:
  This ordinance shall be known and cited as the "Town of Livermore Medical Marijuana
  Stores, Cultivation Facilities, Manufacturing Facilities, and Testing Facilities Ordinance"
  and will be referred to hereinafter as "this Ordinance". This Ordinance prescribes
  definitions for Medical Marijuana businesses, provides for permitting/licensing and
  regulation of Medical Marijuana businesses, and provides standards for Medical
  Marijuana businesses.
  2 Authority and Applicability:
  WHEREAS, implementing a system for the regulation of stores, cultivation,
  manufacturing, and testing for both Medical Marijuana, a controlled substance, is a
  complex function with significant administrative demands on the Town of Livermore;
  and
  WHEREAS, ensuring that possession and use of Medical Marijuana is limited to
  persons who are 21 years of age or older, except in the case of minors in possession of
  a Medical Marijuana Patient Card, is necessary to protect those who have not yet
  reached adulthood from the effects of irresponsible use of a controlled substance; and
  WHEREAS,the Town of Livermore believes that any production, processing, or selling
  of Medical Marijuana should be conducted in a safe and fair manner for the health,
  safety, and welfare of the community, which includes complying with provisions of all
  applicable laws and ordinances relating to Medical Marijuana throughout the Town of
  Livermore; and
   NOW THEREFORE, this Ordinance is adopted pursuant to the Marijuana Legalization
   Act, 28-B M.R.S. c. 1; Maine's Medical Marijuana laws and regulations, including but not
   limited to 22 M.R.S. c. 558-C; Article VIII, Part 2, Section 1 of the Maine Constitution; the
   provisions of the Municipal Home Rule Authority (30-A M.R.S. §3001 et seq.); and the
   provisions of the Planning and Land Use Regulation Act, 30-A M.R.S. §4312 et seq.

   3 Purpose:
   It is the purpose of this Ordinance to regulate Medical Marijuana businesses in order to
   promote the health, safety, and general welfare of the citizens of Livermore, and to
   establish reasonable and uniform regulations for the appropriate location of Medical
   Marijuana businesses in Livermore.


   Persons or entities wishing to establish a Medical Marijuana business within the Town
   of Livermore shall first obtain a State of Maine Medical Marijuana Caregiver License


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  and then apply for a permit/license from the Town of Livermore and shall be subject to
  the provisions of this Ordinance.
  This Ordinance may not be construed to limit any privileges or rights of a qualifying
  patient, caregiver, or registered caregiver under Maine's Medical Marijuana laws and
  regulations, including but not limited to 22 M.R.S. G. 558-C, except that Medical
  Marijuana Stores operated by registered caregivers are subject to the provisions of this
  Ordinance.
  4 Conflict with Other Ordinances; Severability:
  Whenever a provision of this Ordinance conflicts with or is inconsistent with other
  provisions of this Ordinance, or of any other ordinance, regulation or standard, the more
  restrictive provision shall apply.
  5 Effective Date:
  The effective date of this Ordinance and the permitting/licensing of the establishment or
  operation of any Medical Marijuana Store, Medical Marijuana Cultivation Facility,
  Medical Marijuana Manufacturing Facility, and Medical Marijuana Testing Facility in
  Livermore thereunder, shall be the date of adoption by the voters at Town Meeting.

  6 Validity and Severability:
  Should any section or provision of this Ordinance be declared by any court to be invalid,
  such decision shall not invalidate any other section or provision of this Ordinance.
  7 Definitions:

  For the purpose of this Ordinance, Medical Marijuana businesses, including Medical
  Marijuana Stores, Medical Marijuana Cultivation Facilities, Medical Marijuana
  Manufacturing Facilities, and Medical Marijuana Testing Facilities are defined in
  Maine's Medical Marijuana Law.
  For the purpose of this Ordinance, the term,"Marijuana Business" means any Medical
  Marijuana business listed in the preceding paragraph.
  For the purpose of this Ordinance, the term,"Plant Canopy" is defined as set forth in
  28-B M.R.S. §102.
  For the purpose of this Ordinance, the term "Medical Marijuana Stores" includes
  storefronts operated by registered caregivers and medical marijuana dispensaries.

  8 Permit/License Required:
  No person may establish, operate or maintain a Medical Marijuana business without
  first obtaining a permit/license from the Town of Livermore.


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  It is a violation of this Ordinance for any person to operate a Medical Marijuana
  business within the Town of Livermore without a Medical Marijuana business
  permit/license issued by the Town pursuant to this Ordinance. Annual renewal must
  occur prior to date of permit/license expiration to include new and existing businesses.
  It is a violation of this Ordinance for any person to operate a Medical Marijuana
  business within the Town of Livermore without a valid Medical Marijuana business
  permit/license issued by the State pursuant to State Medical Marijuana laws and
  regulations.
  Pursuant to 28-B M.R.S. §402, the Town has placed the following permit/license limits
  for the following four (4) categories of Medical Marijuana businesses: Stores - two (2)
  Medical; Cultivation Facilities - five (5) total; Manufacturing Facilities - three (3)total;
  and Testing Facilities - two (2) total. Whenever a permit/license expires and is not
  renewed, or the Town declines to renew a permit/license, other permit/license
  applications may be reviewed, but the cap of permits/licenses per each category shall
   be maintained. In the event cap is reached, application fee date is the first determining
  factor. Any ties thereafter result in determination by lottery.
   In the event of the proposed sale of a marijuana business, the tentative purchaser shall
   be given preference to obtain a new permit/license to replace the seller's permit/license
   within sixty (60) days prior to the date of the sale.
   The tentative purchaser shall file an application with fee and provide all the information
   required in this Ordinance. If the application is approved by the Town, the Municipal
   Officers shall specify that the permit/license for same is contingent on the sale being
   completed and the Town's receipt of permit/license fees.

   All Medical Marijuana Stores must be operated from permanent locations, which may
   utilize telephone and internet orders as long as the buyer, on the day the order is made,
   pays for and picks up such orders in the store.
  Medical Marijuana Stores may not use vending machines for sales, may not have
  "drive-through" or "drive-up" window-serviced sales, and may not have internet-based
  sales with credit/debit card payment and delivery by USPS, UPS, FedEx, DHL, or any
  other global or local delivery service or courier.
   9 Application Procedure:
   A. An application for a permit/license must be made on the form for same provided by
   the Town.
   B. All applicants must be qualified according to the provisions of this Ordinance. The
   application requests and the applicant shall provide information so the Town can
   determine whether the applicant meets the qualifications established in this Ordinance.
   C. The Town will give first priority to applicants, who for the two (2) year period
   immediately preceding the date of application: (i) have been cultivating Medical

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  Marijuana within the Town in compliance with applicable State law and regulations for
  same; (ii) have continuously held a Caregiver's Registry Identification Card (unless this
  requirement is waived by the Town for good cause); and (iii) have had at least three (3)
  patients in each year of the two (2) year period.
  D. Applications to establish a Medical Marijuana business:
     1 If the applicant who wishes to operate a Medical Marijuana business is a single
       individual, this person must sign the application for a permit/license. If the
       applicant who wishes to operate a Medical Marijuana business is more than one
       individual, each person who has an interest in the business must sign the
       application for a permit/license as applicant. Each applicant must be qualified
        under the following Section and each applicant shall be considered a
        permittee/licensee if a permit/license is granted.
     2. The completed application for a Medical Marijuana business permit/license shall
        contain the following information and shall be accompanied by the following
        documents:
         a. If the applicant is an individual: The individual shall state their legal
             name and any aliases, and submit proof that they are at least twenty-
             one (21) years of age.
         b. If the applicant is a partnership: The partnership shall state its complete
            name, and the names of all partners, whether the partnership is general or
            limited, submit a copy of the partnership agreement, if any, and submit proof
            that all partners are at least twenty-one (21) years of age.

         c. If the applicant is a corporation: The corporation shall state its complete
             name,the date of its incorporation, evidence that the corporation is In good
            standing under State law, the names and capacity of all officers, directors
            and principal stockholders, the name of the registered corporate agent, the
            address of the registered office for service of process, and submit proof that
            all officers, directors and principal stockholders are at least twenty-one (21)
             years of age.
         d. If the applicant is a limited liability company (LLC): The LLC shall state its
            complete name, the date of its establishment, evidence that the LLC is in
            good standing under State law, the names and capacity of all members, a
            copy of its operating agreement, if any, the address of its registered office for
            service of process, and submit proof that all members are at least twenty-one
           (21) years of age.
         e. If the applicant intends to operate the Medical Marijuana business under a
            name other than that of the applicant, they must state the business' name
            and submit the required registration documents.


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       f. If the applicant or a potential employee has been convicted of criminal activity
          under State and/or federal law, they must list the specified criminal activity
          involved, and the date, place, and jurisdiction of each conviction.
        g.   If the applicant has had a previous permit/license under this Ordinance or
             other similar marijuana business ordinances from another Town, City, or
             State denied, suspended or revoked, they must list the name and location of
             the marijuana business for which the permit/license was denied, suspended
              or revoked, as well as the date of the denial, suspension or revocation, and
              they must list whether the applicant has been a partner in a partnership or an
              officer, director, or principal stockholder of a corporation that is
              permitted/licensed under this Ordinance, whose permit/license has previously
              been denied, suspended or revoked, listing the name and location of the
              marijuana business for which the permit was denied, suspended, or revoked
              as well as the date of denial, suspension or revocation.
        h. If the applicant holds any other permits/licenses under this Ordinance or
           other similar marijuana business ordinance from another Town, City, or
           State and, if so, the names and locations of such other permitted/licensed
           businesses must also be provided.
        i. The classification of permit/license for which the applicant is filing.
             The location of the proposed Medical Marijuana business,
             including a legal description of the property, street address, and telephone
             number.
        k. The applicant's mailing address and residential address.
         I. Recent passport-style photograph(s) of the applicant(s).
        m. The applicant's driver's license and Social Security numbers.
        n. A sketch showing the configuration of the subject premises, including
           building footprint, interior layout with floorspace to be occupied by the
           business, and parking plan. The sketch must be drawn to scale with
           marked dimensions.
        o. A copy of a Town Tax Map depicting: the subject property lines and the
         property lines of other properties containing any existing Medical
         Marijuana businesses within one thousand (1,000)feet of the subject property;
         The property lines of any public or preexisting private school within one
          thousand (1,000)feet of the subject property; and/or property used primarily
         for religious worship and related religious activities, and/or property used for
         licensed daycare use under 10-148 CMR c. 32, and/or recreational areas
         designated for use by children up to eighteen (18) years in age, and/or areas
         designated as a municipal "safe zones" pursuant to 30-A M.R.S. §3253, within
         five hundred (500)feet of the subject property.


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     3. Some portions of applications for a Medical Marijuana business permit/license
        shall be kept confidential by the Town and used for administrative purposes only
        d ue to sensitive information contained therein such as Social Security numbers,
        etc., as allowed by FOAA (Freedom of Access Act).
    4. All applicants (including all officers, directors, managers, members, or partners)
       for any Medical Marijuana business permit/license, excepting Marijuana Testing
       Facilities, must have been residents of the State, and paid taxes in the State, for
       a period of not less than four(4) years immediately preceding the date of the
       application per 28-B M.R.S. §202.2.B. This requirement expires on June 1, 2021
        per 28-B M.R.S. §102.48.
     5. If the applicant is a person, the applicant must be a resident as that term is
        defined in the application. If the applicant is a corporation, partnership, or limited
        liability company, every officer, director, and managing partner must be a person
        who is a resident, and a majority of shares, partnership interests, and
         membership interests, or other equity interests, must be held or owned by
         persons who are residents. This residency requirement does not apply to
        applicants for Testing Facility licenses.
  E. Application and Permit/License Fees
  All applications must be submitted with a non-refundable $500 fee. If an application is
  approved, the following permit/license fees must be paid before the Town will issue a
  permit/license:
  Medical Marijuana Store: Annual Permit/License Fee: $2,500 nonrefundable


  Medical Marijuana Manufacturing Facility: Annual Permit/License Fee: $2,500 non-
  refundable

  Medical Marijuana Cultivation Facility: Annual Permit/License Fee: $2,500 non-
  refundable

   Marijuana Testing Facility: Annual Permit/License Fee: $2,500 non-refundable

   All existing Medical Marijuana businesses will be subject to Annual Permit/License Fees
   at the next renewal of their existing license.


   10 Standards for Permit/License:
   A. General




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     1. Medical Marijuana businesses, whether Retail Stores (including Medical
        Marijuana storefronts), Cultivation Facilities, Manufacturing Facilities, or Testing
        Facilities, may only exist and operate in the Limited Commercial Zoning District.
     2. Medical Marijuana businesses may not be operated on property
        located within:
        a. One thousand (1,000)feet of the property line of a public or preexisting
           private school (K-12) per 28-A M.R.S. §402.2.A; and/or
        b. One thousand (1,000)feet of the property line of:
           property used primarily for religious worship and related religious activities;
           property used for licensed daycare use under 10-148 CMR c. 32; recreational
           areas designated for use by children up to eighteen (18) years in age; or
           areas designated as a municipal "safe zones" pursuant to 30-A M.R.S. §3253.
         Required setbacks under 2. a. & b. above shall be measured as the most direct,
         level, shortest, straight-line distance between property lines.
     3. A property containing a building housing one or more Medical Marijuana
        business (es) may not be located within one thousand (1,000)feet of another
        property containing a building housing one or more Medical Marijuana business
       (es).
     4. More than one Medical Marijuana business (Store and/or Cultivation Facility
        and/or Manufacturing Facility and/or Testing Facility) may be co-located and
        operated within the same building, structure, or portion thereof, as long as all
        ordinance and application requirements are met.
     5. The sale or offering for sale of Medical Marijuana and/or Medical Marijuana
        products under permit/license and the sale or offering for sale of Adult Use
        Marijuana and/or Adult Use Marijuana products under permit/license within the
        same facility or building by the same licensee is prohibited per 28-B M.R.S.
        §504.5.


     6. For the purpose of subsection A.2 of this Section, measurement shall be made in
        a straight line, without regard to the intervening structures or objects, from the
        nearest property line of a property containing a building or structure used as the
        premises where a Medical Marijuana business is conducted, to the nearest
        property line of the premises of a use listed in subsection A.2. Presence of a
        Town, County, or other political subdivision boundary shall be irrelevant for
        purposes of calculating and applying the distance requirements of this Section.
     7. For purposes of subsection A.3 of this Section, the distance between any two
        properties containing a building housing one or more Medical Marijuana
        businesses shall be measured in a straight line, without regard to the intervening


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        structures or objects or political boundaries,from the closest property line of
        each property containing the building in which each business is located.

      8. Security measures at all Medical Marijuana business premises
        shall include, at a minimum, the following:
        a. Security surveillance cameras installed and operating twenty-four(24) hours
           a day, seven (7) days a week, with ten (10) day video storage, to monitor all
           entrances, along with the interior and exterior of the premises, to discourage
           and facilitate the reporting of criminal acts and nuisance activities occurring at
           the premises; and
         b. Door and window combination video and motion detector intrusion system
            with audible alarm and smart phone monitoring, maintained in good working
            condition; and
         c. A locking safe permanently affixed to the premises that is suitable for storage
            of all marijuana, marijuana products, and cash stored overnight on the
            licensed premises; and
         d. Exterior lighting that illuminates the exterior walls of the licensed premises
            during dusk to dawn, that is either constantly on or activated by motion
            detectors, and complies with applicable provisions of the lighting performance
            standards in the Town of Livermore Zoning Ordinance; and
         e. Deadbolt locks on all exterior doors and any other exterior access points,
            excepting windows which shall have locks and bars; and
         f. Methods to ensure that no person under the age of twenty-one (21) shall
            have access to marijuana and marijuana products.
     9. Ventilation
         All Medical Marijuana businesses are required to have odor mitigation systems.

      10. Required Notices
         There shall be posted in a conspicuous location inside each Medical Marijuana
         Store, at least one legible sign containing the following information:
         "Use of or allowed on-site consumption of marijuana is illegal; Open and public
         consumption of marijuana in the State of Maine is illegal; The use of marijuana
         or marijuana products may impair a person's ability to drive a car or operate
         machinery; No one under the age of twenty-one (21) allowed, except a minor
         with a Medical Marijuana Card; Loitering prohibited".
      11. Signs
         All signs used by and all marketing and advertising conducted by or on behalf of

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        the marijuana business may not involve advertising or marketing that has a high
        likelihood of reaching persons under 21 years of age or that is specifically
        designed to appeal particularly to persons under 21 years of age. The signs,
        marketing, or advertising is prohibited from making any health or physical benefit
        claims.
        All signage shall meet the Town's Sign Ordinance and may use an image or
        images of the marijuana plant or plants, or parts thereof, as long as they do not
        exceed 20% of the sign face, but there shall be no pictorial representations of
        other marijuana products, by-products, or paraphernalia associated with the use
        or distribution of retail marijuana. The exterior of all Medical
        Marijuana Stores shall display a 1' x 1' image of any universal symbol for same
        adopted by the State's Department of Administration and Financial Services.



   B. Right of Access/Background Check/Inspection
      Every Medical Marijuana business shall allow Code Enforcement and Law
      Enforcement officers unscheduled visits for compliance to safety, health, code
      verification and licensure to enter the premises at reasonable times for the purpose
      of checking compliance with all applicable State laws and this Ordinance. Every
      owner and employee of a Medical Marijuana business applying for a
      permit/license, shall contact the Livermore Town Office and all premise managers
      for Medical Marijuana businesses shall submit emergency contact information to
      the Livermore Town Office.
      Due to fire, explosion, and other hazards inherent in Marijuana Cultivation and
      Manufacturing Facilities, including, but not limited to, heavy electrical loads, hot
      lighting fixtures, CO2 enrichment, extraction solvents (acetone, butane, propane,
      diethyl ether, heptane, CO2, etc.), products with flash points under 100°F, high-
      pressure extraction methods(CO2, etc.), and flammable contents, the owners of all
      such facilities shall agree to be inspected annually by the Livermore Fire Rescue
      Department.
      Marijuana Cultivation and Manufacturing Facilities must comply with NFPA-1
      Chapter 38 standards for Marijuana Growing, Processing, or Extraction Facilities,
      and these standards will be utilized by the Livermore Fire Rescue Department
      d uring their inspections of these premises. A Knox Box shall be installed at the
      structure's exterior entrance for emergency access, and all Knox Boxes shall be
      obtained and installed in coordination with the Livermore Fire Rescue Department
      at the expense of the business owner.
   C. Indemnification
      By accepting a permit/license issued pursuant to this Ordinance, the
      permittee/licensee waives and releases the Town, its officers, elected officials,
      employees, attorneys, and agents from any liability for injuries, damages, or
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      liabilities of any kind that result from any arrest or prosecution of any Medical
      Marijuana business owners, operators, employees, clients, or customers for a
      violation of local, State or federal laws, rules, or regulations.
      By accepting a permit/license issued pursuant to this Ordinance, the
      permittee/licensee agrees to indemnify, defend, and hold harmless the Town, its
      officers, elected officials, employees, attorneys, agents, and insurers against all
      liability, claims, and demands on account of any injury, loss or damage, including
      without limitation, claims arising from bodily injury, personal injury, sickness,
      disease, death, property loss or damage, or any other loss of any kind whatsoever
      arising out of or in any manner connected with the operation of a permitted/licensed
      Medical Marijuana business.


   D. State Law
       In the event the State of Maine adopts any additional or stricter law or regulation
       governing the sale, cultivation, manufacture, distribution, or testing of Medical
       Marijuana or marijuana products, the additional or stricter regulation shall control
       the establishment or operation of any Medical Marijuana Store, Cultivation Facility,
       Manufacturing Facility, or Testing Facility in Livermore.
       Compliance with 28-B M.R.S. c. 1, State laws and regulations pertaining to medical
       marijuana, and any other applicable State laws or regulations shall be deemed an
       additional requirement for issuance or denial of any permit/license under this
       Ordinance, and noncompliance with 28-B M.R.S. c. 1 and any other applicable
       State law or regulation shall be grounds for revocation or suspension of any
       permit/license issued hereunder.
   11 Enforcement:
    A. Violations
       1. Any violation of this Ordinance, including failure to comply with any condition,
          shall be deemed to be a violation of 30-A M.R.S. §4452. Each day of violation
          constitutes a separate offense.
       2. Commencement of any Medical Marijuana business without a
          Town permit/license for same shall be a violation of this Ordinance. Any party
          committing such a violation shall immediately cease operations, whether of a
          construction, renovation, or business nature, upon notification by the Code
          Enforcement Officer (CEO). Upon such CEO notification, the Town can pursue
          fines and/or penalties under 30-A M.R.S. §4452.
    B. Code Enforcement Officer(CEO)
        1. If the CEO finds that any provision of this Ordinance is being violated, they
           shall notify in writing the person responsible for such violation, indicating the

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         nature of the violation and ordering the action necessary to correct it, including
         but not limited to, discontinuance of illegal use of land, buildings, or structures,
         or work being done, removal of illegal buildings or structures, and abatement or
         mitigation of violations. A copy of such notices shall be submitted to the
         Municipal Officers and be maintained as a permanent record.
      2. The CEO shall keep a complete record of all essential transactions of the CEO,
       including Medical Marijuana permit/license applications submitted,
      permits/licenses granted or denied, revocation actions, revocation of
       permits/licenses, appeals, court actions, violations investigated, violations found
       and fees collected.

  C. Law Enforcement Officers
      Law enforcement officers may at any reasonable time conduct on-site inspections
      to insure compliance with all applicable laws and conditions attached to
      permit/license approvals, and shall investigate all complaints of alleged violations of
      the Ordinance.
  D. Legal Actions
     When the above notification and/or inspection actions do not result in the voluntary
     correction or abatement of the violation by the subject Medical Marijuana business,
     the Municipal Officers, upon receiving written notification from the CEO,shall
     institute any and all actions and proceedings, either legal or equitable, including
     injunctions of violations and the impositions of penalties and/or fines in order to
     enforce the provisions of this Ordinance.
      The Municipal Officers, or their authorized agent, are hereby authorized to enter into
      administrative consent agreements for the purpose of eliminating violations of this
      Ordinance and recovering fines without court action.
   E. Penalties/Fines
      Any person, including but not limited to, a Medical Marijuana business owner, a
      property owner where such business is located, or any agent or contractor for same,
      who orders or conducts any activity in violation of this Ordinance, or fails to comply
      with any of its requirements, shall be penalized in accordance with 30-A M.R.S.
      §4452.
   12 Amendments:
   A. Initiation of Amendments
      An amendment to this Ordinance may be initiated by:

      1. The Municipal Officers, provided a majority of the Municipal Officers has so
          voted; or

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     2. Written petition of a number of voters equal to at least ten percent(10%)of the
         number of votes cast in the municipality at the last gubernatorial election.
  B. Public Hearing
     The Municipal Officers shall hold a Public Hearing on the proposed amendment.
     Notification of the hearing shall be posted and advertised in a newspaper of general
     circulation in the municipality at least seven (7) days prior to the hearing.

  C. Adoption of Amendment
     An amendment of this Ordinance shall be adopted by a majority vote at a Town
     Meeting.




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                                            Tartre & Tartre
                                             Law Firm


                                                8/4/2020
   VIA Certified Mail
   Town Clerk or Selectmen
   Town ofLivermore
   10 Crash Road
   Livermore, ME 04253

           Re:    Request for Written Approval of Mr. Weaver's Site Plan

   Dear Town ofLivermore,

          During a Town of Livermore planning board meeting, dated 7-29-2020, the Town of
   Livermore, through one of its planning board members,stated that Michael Weaver's medical
   marijuana business and/or site plan of the medical marijuana business had been "approved" by the
   Town of Livermore.

           Mr. Weaver requests a written and signed municipal approval demonstrating that the site
   plan for his medical marijuana business has in fact been approved by the Town of Livermore prior
   to the planning board meeting held on 7-29-2020.

          Failure to provide a written and signed approval of Mr. Weaver's site plan for his medical
   marijuana business may result in legal action against the Town of Livermore.

         This letter is written without waiver or prejudice to any right or remedy belonging to Mr.
   Weaver, all of which are expressly reserved.

                                                                Sincerely,

                                                                Martin Tartre, Esq.
                                                                Bar No. 5899
                                                                91 J Auburn St. #1022
                                                               Portland, ME 04103
                                                               (207) 364-2222
                                                                martin@tartrelaw.com




   cc: Michael Weaver



                 Mailing Address:91 J Auburn Street #1022,Portland, Maine 04103
                      Phone:(207)364-2222•Email: martin@tartrelaw.com
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                                           Town of Livermore

                                             Official Warrant
                                       Medical Marijuana Ordinance
                                               July 29,2020

To: Bradley Buzzell, Constable ofthe Town of Livermore, County of Androscoggin, State of Maine.

Greetings:

In the name of the State of Maine, you are required to notify and warn the voters in the Town of Livermore
in the County of Androscoggin, in the State of Maine, qualified by law to vote in Town affairs, to meet at
the Spruce Mountain Primary School, 107 Gibbs Mill Road in said Town of Livermore on Tuesday, August
1 1, 2020, at 8:00 AM,there and then to act on the following article:


 Article 1. Shall the following vote be adopted?

   (I) Shall an ordinance entitled "TOWN OF LIVERMORE Medical Marijuana Stores, Cultivation Facilities,
       Manufacturing Facilities, and Testing Facilities" be enacted?



Dated: July 29,2020

 Municipal Officers:
                                             Mark Chretien, Chair


                                             Brett Deyling, Vice Chair


                                             Scott Richmond


                                             Benjamin Guild


                                             Tracey Martin

 A true copy ofthe warrant,

 Attest:
           Jean Tardif, Deputy Clerk
